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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 06-cr-122-01/02/03-SM

Chamroeun Van,
Soreasey Soeur and
Srey Eng

                                    ORDER

      Government’s motion to continue the final pretrial conference and trial is

granted (document 132). Trial has been rescheduled for the November 2006

trial period. Defendants shall file a waiver of speedy trial rights not later than

September 5, 2006. On the filing of such waivers, this continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant s in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: October 30, 2006 at 3:30 p.m.

      Jury Selection: November 7, 2006 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

August 29, 2006

cc:   John Kacavas, Esq.
      Steven Rappaport, Esq.
      David Bownes, Esq.
      Mark Zuckerman, AUSA
      US Probation
      US Marshal




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